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                  EXHIBIT C




                          EXHIBIT C
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Jones, Lyn

From:                               noreply@onelegal.com
Sent:                               Thursday, May 5, 2022 10:03 AM
To:                                 Jones, Lyn
Subject:                            eFiling received by court for DRAGAN ZARIC vs MICROSOFT CORPORATION


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             eFiling Under Court Clerk Review

             Order #                               18158946
             Submitted                             5/5/2022 10:02 AM PT by Charlyn Jones
             Case                                  DRAGAN ZARIC vs MICROSOFT CORPORATION
                                                   #22STCV11504
             Court                                 Superior Court of California, Los Angeles County
                                                   (Central District)
             Client billing                        999947.20595
             Court transaction #                   22LA00553958

             Documents
             • Answer

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                                                                                    5    Telephone: +1 213 457 8000
                                                                                         Facsimile: +1 213 457 8080
                                                                                    6

                                                                                    7    Attorneys for Defendant
                                                                                         MICROSOFT CORPORATION
                                                                                    8

                                                                                    9
                                                                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                   10
                                                                                                                   FOR THE COUNTY OF LOS ANGELES
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                                                                                   11

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                                                                                        DRAGAN ZARIC, an individual,               Case No. 22STCV11504
REED SMITH LLP




                                                                                   13
                                                                                                            Plaintiff,             DEFENDANT MICROSOFT
                                                                                   14                                              CORPORATION’S ANSWER TO
                                                                                              vs.                                  PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   15
                                                                                      MICROSOFT CORPORATION, a
                                                                                   16 Washington Corporation; and DOES 1 through   Compl. Filed:   April 5, 2022
                                                                                      10, Inclusive,
                                                                                   17                                              [ASSIGNED FOR ALL PURPOSES TO HON.
                                                                                                          Defendant.               TERESA A. BEAUDET, DEPT. 50]
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                                                                                        Case No. 22STCV11504                   –1–
                                                                                            DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                    1          Defendant Microsoft Corporation (“Defendant”), for itself only, responds to unverified

                                                                                    2 Complaint filed by Plaintiff Dragan Zaric (“Plaintiff”) as follows:

                                                                                    3                                           GENERAL DENIAL

                                                                                    4          Pursuant to the provisions of Section 431.30 of the California Code of Civil Procedure,

                                                                                    5 Defendant denies, both generally and specifically, each and every allegation, matter or fact contained

                                                                                    6 in the Complaint and the whole thereof, and further specifically denies that Plaintiff has been injured

                                                                                    7 or damaged in any sum whatsoever or is entitled to any relief in any form, whether legal or equitable,

                                                                                    8 from Defendant.

                                                                                    9                                      AFFIRMATIVE DEFENSES

                                                                                   10          Defendant asserts the following affirmative and other defenses without assuming any burdens
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                                                                                   11 of production or proof that, pursuant to law, belong to Plaintiff. Defendant reserves the right to amend

                                                                                   12 this Answer to assert any additional defenses and affirmative defenses that may become available or
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                                                                                   13 apparent during the course of this litigation.

                                                                                   14                                     FIRST SEPARATE DEFENSE

                                                                                   15                                        (Failure to State a Claim)

                                                                                   16          Defendant is informed and believes and on that basis alleges that the Complaint, and each

                                                                                   17 cause of action pleaded, fails to state facts sufficient to constitute a claim upon which any relief may

                                                                                   18 be granted.

                                                                                   19                                   SECOND SEPARATE DEFENSE

                                                                                   20                                         (Statute of Limitations)

                                                                                   21          Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s

                                                                                   22 causes of action are barred in whole or in part by the applicable statutes of limitations, including, but

                                                                                   23 not limited to, California Government Code §§ 12960 and 12965; California Code of Civil Procedure

                                                                                   24 §§ 335.1, 337, 340, 337, 338, 339, 339.1, 229, 340, and 343; and the like.

                                                                                   25                                    THIRD SEPARATE DEFENSE

                                                                                   26                             (Failure to Exhaust Administrative Remedies)

                                                                                   27          Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s

                                                                                   28 causes of action are barred in whole or in part to the extent Plaintiff failed to exhaust administrative

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                                                                                    1 remedies and statutory prerequisites in a complete and timely manner under applicable law including,

                                                                                    2 but not limited to, the California Fair Employment and Housing Act (Government Code §12940 et

                                                                                    3 seq.).

                                                                                    4                                   FOURTH SEPARATE DEFENSE

                                                                                    5                               (Exceeds Scope of Administrative Charge)

                                                                                    6          Defendant is informed and believes and on that basis alleges that to the extent Plaintiff filed

                                                                                    7 an administrative charge with any federal or state agency, including, but not limited to, the California

                                                                                    8 Department of Fair Employment and Housing and/or the Equal Employment Opportunity

                                                                                    9 Commission, Plaintiff’s causes of action are barred in whole or in part to the extent they exceed the

                                                                                   10 scope of the charge(s).
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                                                                                   11                                    FIFTH SEPARATE DEFENSE

                                                                                   12                                       (After-Acquired Evidence)
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                                                                                   13          Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   14 are barred or mitigated in whole or in part to the extent Defendant discovers evidence after-the-fact

                                                                                   15 that amounts to independent grounds to subject Plaintiff to any adverse employment action.

                                                                                   16                                    SIXTH SEPARATE DEFENSE

                                                                                   17                                 (Worker’s Compensation Exclusivity)

                                                                                   18          Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s

                                                                                   19 causes of action may be barred because Plaintiff’s exclusive remedy for such damages is governed by

                                                                                   20 the California Worker’s Compensation statutes. Cal. Labor Code §3200 et seq.

                                                                                   21                                  SEVENTH SEPARATE DEFENSE

                                                                                   22                                                 (Waiver)

                                                                                   23          Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   24 are barred in whole or in part by the doctrine of waiver.

                                                                                   25                                   EIGHTH SEPARATE DEFENSE

                                                                                   26                                                 (Laches)

                                                                                   27          Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   28 are barred in whole or in part by the doctrine of laches.

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                                                                                    1                                    NINTH SEPARATE DEFENSE

                                                                                    2                                             (Unclean Hands)

                                                                                    3         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                    4 are barred in whole or in part to the extent Plaintiff is guilty of unclean hands.

                                                                                    5                                    TENTH SEPARATE DEFENSE

                                                                                    6                                                 (Estoppel)

                                                                                    7         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                    8 are barred in whole or in part by Plaintiff’s own improper conduct, acts or omissions and, therefore,

                                                                                    9 he is equitably estopped from recovering on any of his claims for relief.

                                                                                   10                                 ELEVENTH SEPARATE DEFENSE
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                                                                                   11                                                (No Injury)

                                                                                   12         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action
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                                                                                   13 are barred in whole or in part to the extent Plaintiff sustained no injury or damages as a proximate

                                                                                   14 result of any act by or attributable to Defendant.

                                                                                   15                                  TWELFTH SEPARATE DEFENSE

                                                                                   16                                           (Failure to Mitigate)

                                                                                   17         Defendant is informed and believes and on that basis alleges that Plaintiff is not entitled to

                                                                                   18 back pay and/or other damages to the extent he failed to failed to mitigate his alleged loss of wages

                                                                                   19 and/or other damages.

                                                                                   20                                THIRTEENTH SEPARATE DEFENSE

                                                                                   21                                        (Privilege or Justification)

                                                                                   22         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   23 are barred to the extent any actions and/or omissions attributable to Defendant were at all times

                                                                                   24 privileged or justified.

                                                                                   25                                FOURTEENTH SEPARATE DEFENSE

                                                                                   26                                     (Legitimate Business Reasons)

                                                                                   27         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   28 are barred to the extent that any and all conduct Plaintiff complains of or that is attributable to

                                                                                        Case No. 22STCV11504                   –4–
                                                                                            DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                    1 Defendant was undertaken for legitimate, non-discriminatory, non-retaliatory business reasons.

                                                                                    2 Moreover, Defendant is informed and believes and on that basis alleges that Defendant’s employment

                                                                                    3 practices/policies are lawful because it is necessary to operate safely and efficiently and the

                                                                                    4 employment practices/policies accomplish this purpose.

                                                                                    5                                 FIFTEENTH SEPARATE DEFENSE

                                                                                    6                                        (Management Discretion)

                                                                                    7         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                    8 are barred to the extent that the conduct Plaintiff complains or that is attributable to Defendant was a

                                                                                    9 just and proper exercise of management discretion undertaken for a fair and honest reason.

                                                                                   10                                 SIXTEENTH SEPARATE DEFENSE
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                                                                                   11                                              (Good Faith)

                                                                                   12         Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action
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                                                                                   13 are barred to the extent that the conduct Plaintiff complains of that is attributable to Defendant was

                                                                                   14 undertaken in good faith and without malice, was a lawful exercise of sound discretion of Defendant’s

                                                                                   15 legal rights, and was based on a rational, reasonable consideration of the facts.

                                                                                   16                                SEVENTEENTH SEPARATE DEFENSE

                                                                                   17                                         (No Punitive Damages)

                                                                                   18         Defendant is informed and believes and on that basis alleges that Plaintiff is not entitled to

                                                                                   19 recover any punitive, double or exemplary damages, and any such allegations should be stricken to

                                                                                   20 the extent Plaintiff failed to plead and cannot prove facts sufficient to support allegations of

                                                                                   21 oppression, fraud and/or malice by an officer, director, or managing agent pursuant to California Civil

                                                                                   22 Code § 3294.

                                                                                   23                                EIGHTEENTH SEPARATE DEFENSE

                                                                                   24                                (Unconstitutionality of Punitive Damages)

                                                                                   25         Defendant is informed and believes and on that basis alleges Plaintiff’s punitive damage claims

                                                                                   26 are barred and should be stricken to the extent they are unconstitutional under the California and
                                                                                   27 United States Constitutions.

                                                                                   28

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                                                                                            DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                    1                                NINETEENTH SEPARATE DEFENSE

                                                                                    2                                                  (Setoff)

                                                                                    3          Defendant is informed and believes and on that basis alleges that without conceding Plaintiff

                                                                                    4 is owed any amount, and as to all of Plaintiff’s causes of action, Defendant is entitled to offset against

                                                                                    5 any judgment that may be entered against it all amounts previously paid to Plaintiff in worker’s

                                                                                    6 compensation, disability, unemployment, excess wages paid but not earned while working at

                                                                                    7 Defendant, or any other benefits from any source to the full extent allowed by applicable law.

                                                                                    8                                 TWENTIETH SEPARATE DEFENSE

                                                                                    9                                                (Spoliation)

                                                                                   10          Defendant is informed and believes and on that basis alleges that to the extent Plaintiff and/or
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                                                                                   11 his agents failed to preserve and/or permitted the spoliation of material evidence, such conduct bars

                                                                                   12 Plaintiff from recovering from Defendant, warrants evidentiary, issue or other sanctions, and/or makes
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                                                                                   13 Plaintiff liable for damages to Defendant.

                                                                                   14                               TWENTY-FIRST SEPARATE DEFENSE

                                                                                   15                                           (Conduct of Others)

                                                                                   16          Defendant is informed and believes and on that basis alleges that without conceding Plaintiff

                                                                                   17 is owed any amount, and as to all of Plaintiff’s causes of action, Defendant is entitled to offset against

                                                                                   18 any judgment that may be entered against it to the extent that other third parties’ fault caused or

                                                                                   19 contributed to Plaintiff’s damages, if any.

                                                                                   20                             TWENTY-SECOND SEPARATE DEFENSE

                                                                                   21                                          (Conduct of Plaintiff)

                                                                                   22          Defendant is informed and believes and on that basis alleges that Plaintiff’s causes of action

                                                                                   23 are barred because Plaintiff’s conduct concerning the matters alleged in the Complaint constitute

                                                                                   24 carelessness, negligence, misconduct, or bad faith, or the Plaintiff was otherwise at fault and any

                                                                                   25 resulting injuries sustained by Plaintiff were proximately caused by the conduct of Plaintiff.

                                                                                   26                             TWENTY-SECOND SEPARATE DEFENSE

                                                                                   27                            (Intentional Acts of Others/Superseding Cause)

                                                                                   28          Defendant is informed and believes and on that basis alleges that without conceding Plaintiff

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                                                                                            DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                    1 is owed any amount, and as to one or more of Plaintiff’s causes of action, that the sole and/or proximate

                                                                                    2 cause of the damages claimed by Plaintiff was due to willful, intentional, and/or negligent acts of

                                                                                    3 persons and/or entities other than Defendant.

                                                                                    4                               TWENTY-THIRD SEPARATE DEFENSE

                                                                                    5                                   (Avoidable Consequences/McGinnis)

                                                                                    6          Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s

                                                                                    7 claims for relief is subject to the doctrine of avoidable consequences because Defendant exercised

                                                                                    8 reasonable care to prevent and correct any alleged discrimination, harassment and/or retaliation and

                                                                                    9 Plaintiff unreasonably failed to use Defendant’s preventative or corrective measures.

                                                                                   10                               TWENTY-FORTH SEPARATE DEFENSE
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                                                                                   11                                            (Bona Fide Factors)

                                                                                   12          Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s
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                                                                                   13 claims for relief is barred because Defendant’s actions affecting the terms and conditions of Plaintiff’s

                                                                                   14 employment were gender neutral and based on bona fide factors other than sex/gender.

                                                                                   15                               TWENTY-FIFTH SEPARATE DEFENSE

                                                                                   16                                          (No Protected Activity)

                                                                                   17          Defendant is informed and believes and on that basis alleges that Plaintiff’s retaliation claims

                                                                                   18 fail because he fails to allege facts sufficient to find that he engaged in protected activity.

                                                                                   19                               TWENTY-SIXTH SEPARATE DEFENSE

                                                                                   20                                           (Lack of Jurisdiction)

                                                                                   21          Defendant is informed and believes and on that basis alleges that this action is barred because

                                                                                   22 this Court has no jurisdiction over the subject of the causes of action alleged in the Complaint.

                                                                                   23                             TWENTY-SEVENTH SEPARATE DEFENSE

                                                                                   24                                                  (Consent)

                                                                                   25          Defendant is informed and believes and on that basis alleges that Plaintiff consented to and

                                                                                   26 approved all of the purported acts and omissions about which Plaintiff now complains.
                                                                                   27

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                                                                                    1                             TWENTY-EIGHTH SEPARATE DEFENSE

                                                                                    2                                          (Lack of Knowledge)

                                                                                    3           Defendant is informed and believes and on that basis alleges that one or more of Plaintiff’s

                                                                                    4 causes of action may be barred in whole or in part because Defendant lacked knowledge, actual,

                                                                                    5 constructive or otherwise, of any conduct that could give rise to liability against Defendant.

                                                                                    6                            TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                                                    7                                             (Same Decision)

                                                                                    8           Defendant is informed and believes and on that basis alleges that some or all of Plaintiff’s

                                                                                    9 claims, including but not limited to Plaintiff’s claim for Retaliation is barred because Defendant would

                                                                                   10 have made its purported decisions for legitimate and independent reasons regardless of Plaintiff’s
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                                                                                   11 engagement in an alleged protected activity.

                                                                                   12                               THIRTIETH AFFIRMATIVE DEFENSE
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                                                                                   13                                       (Adequate Remedy at Law)

                                                                                   14           Defendant is informed and believes and on that basis alleges that Plaintiff’s injunctive and

                                                                                   15 declaratory relief remedies are barred, in whole or in part, because Plaintiff has an adequate remedy

                                                                                   16 at law.

                                                                                   17                      THIRTY-FIRST SEPARATE AFFIRMATIVE DEFENSE

                                                                                   18                                            (Undue Hardship)

                                                                                   19           Defendant is informed and believes on that basis alleges one or more of Plaintiff’s causes of

                                                                                   20 action fail because Plaintiff’s purported accommodations would have created an undue hardship to

                                                                                   21 Defendant’s business.

                                                                                   22                     THIRTY-SECOND SEPARATE AFFIRMATIVE DEFENSE

                                                                                   23                                         (Health or Safety Risk)

                                                                                   24           Defendant is informed and believes on that basis alleges one or more of Plaintiff’s causes of

                                                                                   25 action fail because Defendant’s conduct was lawful, because even with reasonable accommodations,

                                                                                   26 Plaintiff was unable to perform an essential job duty without endangering his health or safety and/or
                                                                                   27 the health or safety of others.

                                                                                   28

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                                                                                    1                     THIRTY-THIRD SEPARATE AFFIRMATIVE DEFENSE

                                                                                    2                                          (Lack of Knowledge)

                                                                                    3         Defendant is informed and believes on that basis alleges that one or more of Plaintiff’s causes

                                                                                    4 of action may be barred in whole or in part because Defendant lacked knowledge, actual, constructive

                                                                                    5 or otherwise, of any conduct that could give rise to liability against Defendant.

                                                                                    6                    THIRTY-FOURTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                    7                              (No Reasonable Accommodations Sought)

                                                                                    8         Defendant is informed and believes on that basis alleges that Plaintiff’s claims for disability

                                                                                    9 discrimination and/or violation of the California Family Rights and any derivative claims therein are

                                                                                   10 barred, in whole or in part, because reasonable accommodations were neither sought by Plaintiff nor
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                                                                                   11 required, and/or were excused by law because they would impose an undue burden or hardship on

                                                                                   12 Defendant.
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                                                                                   13                     THIRTY-FIFTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                   14                   (Failure to Participate in the Interactive Process in Good Faith)

                                                                                   15         Defendant is informed and believes on that basis alleges that Plaintiff’s claims for disability

                                                                                   16 discrimination and/or violation of the California Family Rights and any derivative claims therein are

                                                                                   17 barred, in whole or in part, Plaintiff obstructed or otherwise failed to participate in the interactive

                                                                                   18 process in good faith.

                                                                                   19                     THIRTY-SIXTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                   20                               (Inability to Perform Essential Functions)

                                                                                   21         Defendant is informed and believes on that basis alleges that Plaintiff’s claims for disability

                                                                                   22 discrimination and/or violation of the California Family Rights and any derivative claims therein are

                                                                                   23 barred, in whole or in part, because he was unable to perform the essential duties of his position, with

                                                                                   24 or without reasonable accommodation.

                                                                                   25                   THIRTY-SEVENTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                   26                                             (No Disability)

                                                                                   27         Defendant is informed and believes on that basis alleges that Plaintiff’s claims for disability

                                                                                   28 discrimination and/or violation of the California Family Rights and any derivative claims therein are

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                                                                                    1 barred, in whole or in part, because he is not and was not a qualified individual with an actual or

                                                                                    2 perceived disability or serious health condition.

                                                                                    3 //

                                                                                    4                    THIRTY-EIGHTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                    5                                (Bona Fide Occupational Qualification)

                                                                                    6         Defendant is informed and believes on that basis alleges some or all of Plaintiff’s claims barred

                                                                                    7 because Defendant’s purported decisions related to his were based on a bona fide occupational

                                                                                    8 qualification.

                                                                                    9                     THIRTY-NINTH SEPARATE AFFIRMATIVE DEFENSE

                                                                                   10                                   (Employment Would Have Ceased)
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                                                                                   11         Defendant is informed and believes on that basis alleges that some or all of Plaintiff’s claims,

                                                                                   12 are barred, in whole or in part, because Plaintiff’s ability to work for Defendant would have been
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                                                                                   13 affected for other reasons.

                                                                                   14                               FORTIETH AFFIRMATIVE DEFENSE

                                                                                   15                            (Personnel Management Decisions Insufficient)

                                                                                   16         Defendant is informed and believes and on that basis alleges that to the extent Plaintiff alleges

                                                                                   17 harassment as a part of his other alleged claims, it is barred, in whole, or in part, because Defendant

                                                                                   18 cannot be liable for routine personnel management decisions.

                                                                                   19                                       ADDITIONAL DEFENSES

                                                                                   20         Defendant presently has insufficient knowledge or information upon which to form a belief as

                                                                                   21 to whether there may be additional defenses so they reserve the right to assert additional defenses if

                                                                                   22 discovery indicates that additional defenses are appropriate.

                                                                                   23                                                PRAYER

                                                                                   24         WHEREFORE, Defendant pray for relief as follows:

                                                                                   25         1.       Plaintiff takes nothing and the Complaint is dismissed with prejudice;

                                                                                   26         2.       Judgment for Defendant and against Plaintiff on all causes of action;

                                                                                   27         3.       For costs and reasonable attorneys’ fees incurred to defend this action; and

                                                                                   28         4.       For such other and further relief as this Court deems proper.

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                                                                                    2         DATED: May 5, 2022

                                                                                    3                                        REED SMITH LLP
                                                                                    4
                                                                                                                             By:      /s/ Mona A. Razani
                                                                                    5
                                                                                                                                   Jennifer C. Terry
                                                                                    6                                              Mona A. Razani
                                                                                                                                   Attorneys for Defendant
                                                                                    7                                              MICROSOFT CORPORATION

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                                                                                        Case No. 22STCV11504                   – 11 –
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                                                                                    1                                          PROOF OF SERVICE

                                                                                    2         I am a resident of the State of California, over the age of eighteen years, and not a party to
                                                                                      the within action. My business address is REED SMITH LLP, 355 South Grand Avenue, Suite 2900
                                                                                    3 Los Angeles, CA 90071-1514.

                                                                                    4          On May 5, 2022, I served the following document(s) by the method indicated below:
                                                                                    5           DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S
                                                                                                                UNVERIFIED COMPLAINT
                                                                                    6
                                                                                               by placing the document(s) listed above in a sealed envelope with postage thereon fully
                                                                                    7           prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
                                                                                                am readily familiar with the firm’s practice of collection and processing of correspondence
                                                                                    8           for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
                                                                                                same day with postage thereon fully prepaid in the ordinary course of business. I am aware
                                                                                    9           that on motion of the party served, service is presumed invalid if the postal cancellation date
                                                                                                or postage meter date is more than one day after the date of deposit for mailing in this
                                                                                   10           Declaration.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11          by placing the document(s) listed above in a sealed envelope(s) and by causing personal
                                                                                                delivery of the envelope(s) to the person(s) at the address(es) set forth below. A signed
                                                                                   12           proof of service by the process server or delivery service will be filed shortly.
REED SMITH LLP




                                                                                   13          by transmitting via email to the parties at the email addresses listed below: - courtesy copy
                                                                                   14
                                                                                         Patricio T.D. Barrera                               Attorneys for Plaintiff
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                                                                                   23    vcalderone@calemploymentattorney.com

                                                                                   24           I declare under penalty of perjury under the laws of the State of California that the above is
                                                                                        true and correct. Executed on May 5, 2022, at Los Angeles, California.
                                                                                   25

                                                                                   26
                                                                                   27

                                                                                   28                                                                     Charlyn Jones

                                                                                        Case No. 22STCV11504                   – 12 –
                                                                                            DEFENDANT MICROSOFT CORPORATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
